     Case 2:18-cr-00043-LGW-BWC Document 20 Filed 10/09/18 Page 1 of 2



                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF GEORGIA
                           BRUNSWICK DIVISION

UNITED STATES OF AMERICA                  )   Case No. CR218-43
                                          )
v.                                        )
                                          )
FREDDIE SHAW, JR.                         )

              GOVERNMENT’S NOTICE OF PLEA AGREEMENT

      NOW COMES the United States of America, by and through Bobby L.

Christine, United States Attorney for the Southern District of Georgia, and pursuant

to 18 U.S.C. §3161(h)(1)(G), notifies the Court that a plea agreement has been

reached by the parties which would dispose of the charges pending in the above-

captioned case against the defendant. A copy of the plea agreement has been provided

to the Court for its consideration.

      The government respectfully requests that the Court schedule a Rule 11

proceeding and accept the defendant’s plea as set forth in the proposed agreement.

                                      Respectfully submitted,

                                      BOBBY L. CHRISTINE
                                      UNITED STATES ATTORNEY

                                      /s/ Jennifer Kirkland

                                      Jennifer Kirkland
                                      Assistant United States Attorney
                                      New York Bar No. 4838611

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Savannah, Ga. 31412
Telephone Number: 912-652-4422
     Case 2:18-cr-00043-LGW-BWC Document 20 Filed 10/09/18 Page 2 of 2




                            CERTIFICATE OF SERVICE

       This is to certify that I have on this day served all the parties in this case in

accordance with the notice of electronic filing (“NEF”) which was generated as a

result of electronic filing in this Court.

       This 9th day of October, 2018.

                                             BOBBY L. CHRISTINE
                                             UNITED STATES ATTORNEY

                                             /s/ Jennifer Kirkland

                                             Jennifer Kirkland
                                             Assistant United States Attorney
                                             New York Bar No. 4838611

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